               Case: 1:22-cv-06847 Document #: 1-1 Filed: 12/06/22 Page 1 of 24 PageID #:4




                                                                                                                        ASE / ALL
                                                                                                     Transmittal Number: 25868226
Notice of Service of Process                                                                            Date Processed: 11/09/2022

Primary Contact:           Michael Gershenzon
                           James R. Williams
                           401 N Michigan Ave
                           Fl 33
                           Chicago, IL 60611-4250

Electronic copy provided to:                   Avi Epstein
                                               Jazmin Tweedle

Entity:                                       Lipov Medical S.C.
                                              Entity ID Number 4349122
Entity Served:                                Lipov Medical S.C. d/b/a Stella Center
Title of Action:                              Neuroscience Advanced Systems Inc. vs. Eugene Lipov
Matter Name/ID:                               Neuroscience Advanced Systems Inc. vs. Eugene Lipov (13189175)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Cook County Circuit Court, IL
Case/Reference No:                            2022CH10899
Jurisdiction Served:                          Illinois
Date Served on CSC:                           11/07/2022
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Marty J. Schwartz
                                              312-345-5700

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
         This Case:    1:22-cv-06847
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                               bv the Illinois 5u              #: 1-1 dFiled:  12/06/22
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                                                                                    to pe acce     au 24 PageID
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                                                                                                                     courts.
                                                                                                     For Court Use Only
          STATE OF ILLINOIS,
           CIRCUIT COURT                                                                                            FILED
                                                                SUMMONS
                                                                                                                    11/7/2022 10:41 AM
    Cook                   COUNTY                                                                                   IRIS Y. MARTINEZ
                                                                                                                    CIRCUIT CLERK
   Instructions -                                                                                                   COOK COUNTY, IL
Enter above the county     NEUROSCIENCE ADVANCED SYSTEMS INC.                                                       2022CH10899
name where the case        Plaintiff / Petitioner (First, middle, last name)                                        Calendar, 10
was filed.                                                                                                          20198836
                                Hearing Date: No hearing scheduled
Enter your name as             Location: «CourtRoomNumber»
Plaintiff/Petitioner.       V. Judge: Calendar, 10
Enter the names of all
people you are suing as    EUGENE LIPOV and LIPOV MEDICAL S.C. d/b/a STELLA CENTER                  2022CH10899
Defendants/                 Defendant / Respondent (First, middle, last name)                        Case Number
Respondents.

Enter the Case Number
given by the Circuit        ❑ Alias Summons (Check this box if this is not the 1Sr
Clerk.                       Summons issued for this Defendant.)

                          There may be court fees to start or respond to a case. If you are unable to pay your court fees, you can apply
                          for a fee waiver. You can find the fee waiver application at: illinoiscourts.gov/documents-and-
                          forms/approved-forms/.
                          E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-
                          filing service provider. Visit efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
   IMPORTANT              service provider. If you need additional help or have trouble e-filing, visit illinoiscourts.gov/faq/gethelp.asp
 INFORMATION:             or talk with your local circuit clerk's office. If you cannot e-file, you may be able to get an exemption that
                          allows you to file in-person or by mail. Ask your circuit clerk for more information or visit
                          illinoisle,galaid.org.
                          Call or text Illinois Court Help at 833-411-1121 for information about how to go to court including how to
                          fill out and file forms. You can also get free legal information and legal referrals at illinoislegalaid.orsz.

                          Do not use this form in an eviction, small claims, detinue, divorce, or replevin case. Use the Eviction
                          Summons, Small Claims Summons, or Summons Petition for Dissolution of Marriage / Civil Union available
                          at illinoiscourts.gov/documents-and-forms/approved-forms. If your case is a detinue or replevin, visit
Plaintiff/Petitioner:     illinoisleealaid.org for help.
                          If you are suing more than 1 Defendant/Respondent, fill out a Summons form for each
                          Defendant/Respondent.

In la, enter the name         1.    Defendant/Respondent's a              ~d       service information.'
and address of a                    a.     Defendant/Re         ndent's primary address/information for service:
Defendant/
Respondent. If you are                     Name (Fir , Middle, Last): Stella Center
serving a Registered                       Register d Agent's name, if any: Illinois Corporation Service Com
Agent, include the
                                           Street A dress, Unit #:       801 Adlai Stevenson Drive
Registered Agent's
name and address here.                     City, State, IP:  Springfield, IL 62703
                                           Telephone: `,_~                        Email:                        ~
                                                                   c
In 1b, enter a second               L7     If you have more than one                                          ndent might be found,
address for Defendant/
                                           list that here:
Respondent, if you
have one.                                  Name (First, Middle, Last):
                                           Street Address, Unit #:
                                           City, State, ZIP:
In lc, check how you                       Telephone:                                 Email:
                                                                                          _
are sending your                           Method of service on Defendant/Res pondent:
                                    C.
documents to
Defendant/                                 ❑  Sheriff            ❑ Sheriff outside Illinois:
Res ondent.                                                                                           County & State

                                           ❑
                                           ✓       Special process server            ❑   Licensed private detective


                                                                                                                            72022
SU-S 1503.2                                                       Page 1 of4                                        N®V 0             (06/21)
               Case: 1:22-cv-06847 Document
                                         Enter#:
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                                                       Number given          Page
                                                                    by the Circuit     3 2022CH
                                                                                   Clerk: of 24 PageID
                                                                                                 10899 #:6

In 2, enter the amount        2.    Information about the lawsuit:
of money owed to you.               Amount claimed: $ 5,000,000.00
In 3, enter your
complete address,             3.    Contact information for the Plaintiff/Petitioner:
telephone number, and               Name (First, Middle, Last): Marty J. Schwartz
email address, if you
have one.                           Street Address, Unit #: 70 W Madison St.
                                    City, State, ZIP: Chicago, Illinois 60602
                                    Telephone: (312) 345-5700                        Email:     mschwartz(cD_schainbanks.com

GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share witli anyone else and that you check
every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.

     Important             You have been sued. Read all of the documents attached to this Summons.
information for the        To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
 person getting this       the case without hearing from you and you could lose the case. Appearance and Answer/Response forms can
       form                be found at: illinoiscourts.gov/documents-and-forms/approved-forms/.

Check 4a or 4b. If           4.    Instructions for person receiving this Summons (Defendant):
Defendant/Respondent         ❑✓    a. To respond to this Summons, you must file Appearance and Answer/Response
only needs to file an
Appearance and                          forms with the court within 30 days after you have been served (not counting the day
Answer/Response                         ofservice) by e-filing or at:
within 30 days, check
box 4a. Otherwise, if                   Address: 50 W Washington Street
the clerk gives you a                   City, State, ZIP: Chicago, IL 60602
court date, check box
4b.
                             ❑     b.   Attend court:
In 4a, fill out the                     On:                                 at                       ❑ a.m. ❑ p.m. in
address of the court                             Date                              Time                                         Courtroom
building where the                      In-person at:
Defendant may file or
e-file their
Appearance and                          Courthouse Address                  City                                    State             ZlP
Answer/Response.                        OR
 In 4b, fill out:                       Remotely (You may be able to attend this court date by phone or video conference.
• The court date and
  time the clerk gave                   This is called a"Remote Appearance"):
  you.                                        By telephone:
• The courtroom and                                                Call-in number for telephone remote appearance
  address of the court                         By video conference:
  building.                                                                 Video conference website
• The call-in or video
  information for
  remote appearances                           Video conference log-in information (meeting ID, password, etc.)
  (if applicable).
• The clerk's phone                     Call the Circuit Clerk at:                                                  or visit their website
  number and website.                                                   Circuit Clerk's phone number
 All of this information
 is available from the                  at:                                                        to find out more about how to do this.
 Circuit Clerk.                                 Website


                                                     11/7/2022 10:41 AM IRIS Y. MARTINEZ
          STOP!               Witness this Date:
The Circuit Clerk will
fill in this section.         Clerk of the Court:
        STOP!
The officer or process        This Summons must be served within 30 days of the witness date.
server will fill in the                                       N®U 0 7 2022
Date of Service.              Date of Service:
                                                    (Date to be entered by an officer or process server on the copy of this Summons left
                                                    with the Defendant or other person.)

SU-S 1503.2                                                        Page 2 of 4                                                               (06/21)
                 Case: 1:22-cv-06847 Document #: 1-1 Filed: 12/06/22 Page 4 of 24 PageID #:7
          This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
                                                                                                        For Court Use Only
           STATE OF ILLINOIS,
              CIRCUIT COURT                               pROOF OF SERVICE OF
                                                             SUMMONS AND
    Cook                       COUNTY                      COMPLAINT/PETITION

     Instructions
 Enter above the
 county name where              NEUROSCIENCE ADVANCED SYSTEMS INC.
 the case was filed.             Plaintiff / Petitioner (First, middle, last name)
 Enter your name as
 P laintiff/Petitio ner.
 Enter the names of all          V.
 people you are suing
 as Defendants/                EUGENE LIPOV and LIPOV MEDICAL S.C. d/b/a STELLE
 Respondents.
                                 Defendant / Respondent (First, middle, last name)
 Enter the Case                                                                                        2022CH10899
 Number given by the            ❑ Alias Summons (Check this box if this is not the 15t                  Case Number
 Circuit Clerk.                  Summons issued for this Defendant.)

                 **Stop. Do not complete the form. The sheriff or special process server will fill in the form.**

     My name is                                                                        and I state
                           First, Middle, Last
     ❑ I served the Summons and Complaint/Petition on the Defendant/Respondent
                                                                                                     as follows:
     First, Middle, Last

             ❑      Personally on the Defendant/Respondent:
                    Male ❑ Female ❑ Non-Binary               ❑ Approx. Age:                           Race:
                    On this date:                     at this time:                           ❑ a.m. ❑ p.m.
                    Address, Unit#:
                    City, State, ZIP:

             ❑      On someone else at the Defendant/Respon dent's home who is at least 13 years old and is a family
                    member or lives there:
                    On this date:                     at this time:               ❑ a.m. ❑ p.m.
                    Address, Unit#:
                    City, State, ZIP:
                    And left it with:
                                         First, Middle, Last
                    Male      ❑       Female     ❑    Non-Binary       ❑      Approx. Age:                  Race:
                    and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                    above address on                     1 20
             ❑      On the Corporation's agent,
                                                        First, Middle, Last

                    Male     ❑ Female            ❑     Non-Binary ❑ Approx. Age                       Race:
                    On this date:                             at this time:                   ❑ a.m. ❑ p.m.
                    Address:
                    City, State, ZIP:




SU-S 1503.2                                                           Page 3 of4                                               (06/21)
                Case: 1:22-cv-06847 Document
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                                                 CaseFiled: 12/06/22
                                                     Number given          Page
                                                                  by the Circuit     5 2022CH
                                                                                 Clerk: of 24 PageID
                                                                                              10899 #:8
   ❑ I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

          Middle, Last

    I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

    1      On this date:                            at this time:                   ❑ a.m. ❑ p.m.
           Address:
           City, State, ZIP:
           Other information about service attempt:




    2      On this date:                                 at this time:              ❑ a.m. ❑ p.m.
           Address:
           City, State, ZIP:
           Other information about service attempt:




    3       On this date:                                at this time:              ❑ a.m. ❑ p.m.
           Address:
           City, State, ZIP:
           Other information about service attempt:




 DO NOT complete            If you are a special process server, sheriff outside Illinois, or licensed private detective,
 this section. The
                            your signature certifies that everything on the Proof of Service of Summons is true and
 sheriff or private
 process server will        correct to the best of your knowledge. You understand that making a false statement on
 complete it.               this form could be perjury.

                            By:                                              FEES
 Under the Code of                                                           Service and Return:   $
 Civil Procedure, 735       Signature by:   ❑   Sheriff                      Miles                 $
 ILCS 5/1-109,
 making a statement                         ❑   Sheriff outside Illinois     Total                 $ 0.00
 on this form that you
 know to be false is
 perjury, a Class 3                             County and State
 Felony.                                    ❑   Special process server
                                            ❑   Licensed private
                                                detective

                                  Name


                            If Summons is served by licensed private detective or private detective agency:
                            License Number:




SU-S 1503.2                                                    Page 4 of 4                                            (06/21)
                  Case: 1:22-cv-06847 Document #: 1-1 Filed: 12/06/22 Page 6 of 24 PageID #:9
Hearing Date: 3/7/2023 11:00 AM
Location: Court Room 2302
Judge: Moreland, Caroline Kate
                                                                                                 FILED
                                                                                                 11/4/2022 3:32 PM
                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIARIS Y. MARTINEZ
                                                                          CIRCUIT CLERK
                                COUNTY DEPARTMENT—CHANCERY DIVISION COOK        COUNTY, IL
                                                                                                 2022CH10899
               NEUROSCIENCE ADVANCED                                )                            Calendar, 10
                                                                                                 20188926
               SYSTEMS INC., a New York                             )
               corporation,                                         )

                       Plaintiff,
                                                                                   2022CH10899
                                  V.                                       Case no.

               EUGENE LIPOV and LIPOV
               MEDICAL S.C. d/b/a STELLA
               CENTER

                       Defendants.



                 COMPLAINT FOR CONSTRUCTIVE TRUST, ACCOUNTING AND OTHER
                                        RELIEF

                       The plaintiff, Neuroscience Advanced Systems Inc., by its attorneys, complains of

              the defendants, Eugene Lipov and Lipov Medical S.C. d/b/a Stella Center, as follows:

                                                       COUNT I
                                          CONSTRUCTIVE TRUST AND ACCOUNTING

                                  The plaintiff, Neuroscience Advanced Systems Inc., is a New York

              corporation. It was incorporated in September 2016.

                       2.         The defendant, Eugen Lipov ("Lipov"), is a licensed physician in state of

              Illinois. On information and belief, Lipov is a resident of Cook County, Illinois.

                       3.         The defendant, Lipov Medical S.C. is an Illinois corporation which does

              business as Stella Center ("Stella"). Stella was incorporated in February 2020. Lipov is

              the president and secretary of Stella. Lipov is also a shareholder of Stella.
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             4.       Lipov is a shareholder of the plaintiff and owns 30% of the outstanding

~     shares. The other shareholder of the plaintiff is Philip A. DeFina ("DeFina"), who owns
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_
N     70% of the outstanding shares. The plaintiff is a closely held corporation with only two
C.N
      shareholders.

             5.       In or about February 2018, the plaintiff, Lipov and Defina entered into a

      shareholder agreement ("Agreement"). A copy of the shareholder agreement is attached

      here as Exhibit A.

             6.       Paragraph 4 provides that so long as the Agreement is in effect, Lipov and

      Defina shall be officers and directors of the plaintiff.

             7.       As an officer and director of the plaintiff, Lipov owed fiduciary duties to

      the plaintiff. Lipov further owed fiduciary duties to the plaintiff as a shareholder in a

      closely held corporation.

             8.       Pursuant to paragraph 1 of the Agreement Defma granted an exclusive

      license to the plaintiff for use of Defina's "proprietary electrical brain mapping system."

             9.       Pursuant to paragraph 2 of the Agreement, Lipov granted an exclusive

      license to the plaintiff for Lipov's proprietary procedures (excluding certain procedures)

      "for the treatment of Post-Traumatic Stress Disorder which involves the use of

      medications for what is known as Stellate Ganglion Blocic procedure or "SGB" as well as

      the use of Pulsed Radiofrequency Treatment."

             10.      Paragraph 3 of the Agreement required both shareholders to "devote such

      time and best efforts as needed to continue to develop and refine the procedures referred

      to above to be used together to form a coherent plan and modality for treatment of Post-
                                                     ~a
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      Traumatic Stress Disorders and to further license or sublicense the combined procedure

C.~   to various medical doctors and facilities for the diagnosis and treat [sic] of patients."
_
N            11.     Paragraph 5 of the Agreement defined "Confidential Information" to
0
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      include the proprietary information Lipov and Defina were providing to the plaintiff and

      required Lipov and Defina to keep plaintiff's Confidential Information from public

      disclosure. Paragraph 5 prohibited Lipov and Defina from disclosing Confidential

      Information to third parties or using Confidential Information for any purpose except as

      contemplated by the Agreement or as authorized by the plaintiff.

             12.    Paragraph 10 of the Agreement provided that upon termination of a

      shareholder or the Agreement, neither shareholder for a period of three years thereafter,

      "work for, own an interest in, operate, join, control, participate in or be connected, either

      directly or indirectly, as an officer, employee, agent, independent contractor, advisor,

      consultant, shareholder or principal of and [sic] corporation or other entity which

      diagnoses, treats or refers patients for treatment of Post-Traumatic Stress Disorder, or in

      any way competes, either directly or indirectly, with the business of the Corporation

      [plaintiff], and no Shareholder shall induce or influence any person who is engaged by

      the Corporation as an employee, licensee, agent, or independent contractor, to engage in

      or otherwise participate in any business or activity which directly or indirectly competes

      with the Corporation.

             13.    Paragraph 12 provides that the prevailing party shall be entitled to recover

      its reasonable attorney's fees, costs, and necessary disbursements in any action to enforce

      or interpret the rights arising out of or relating to the Agreement.

                                                    3
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            14.      In or about 2018 or 2019 Defina procured Mike Modica as a potential

0~   investor in plaintiff. Modica agreed to invest in the plaintiff.
 _                   Thereafter, in or about 2019, Lipov informed Defina that he was going to
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            15.

     create a competing company using plaintiff's Confidential Information. He further

     informed Defina that Modica was going to invest in Lipov's new company.

            16.      Modica never invested in the plaintiff.

            17.      In February 2020, Lipov caused Stella to be incorporated. Modica invested

     in Stella.

            18.      Stella treats patients suffering from post-traumatic stress disorder using

     plaintiff's Confidential Information.

            19.      Stella knows that it is using plaintiffs Confidential Information in its

     business because Lipov possesses this knowledge and Lipov is president of Stella.

            20.      Lipov breached his fiduciary duty owed to the plaintiff by failing to act in

     the best interests of the plaintiff including by:

                  a. failing to devote such and time and best efforts as needed to continue to

            develop and refine the procedures described in paragraphs 1 and 2 of the

            Agreement;

                  b. disclosing Confidential Information to third parties, using the Confidential

            Information to compete with the plaintiff, and using the Confidential Information

            in a manner not contemplated by the Agreement;

                  c. inducing or influencing Modica not to invest in plaintiff and to invest in

            Stella; and/or

                                                    4
      Case: 1:22-cv-06847 Document #: 1-1 Filed: 12/06/22 Page 10 of 24 PageID #:13




                   d. Otherwise creating and operating a company that competes with the

             plaintiff.
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             21.      Lipov devoted little or no time to plaintiffs business. As a result plaintiff
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     never was able to successfully operate.

         22.The plaintiff does not have access to the books and records of the plaintiff so

     plaintiff does not know how much in profits the defendants have made using plaintiff's

     Confidential Information and otherwise taking advantage of Lipov's breach of fiduciary

     duty.

         23.The defendants have been unjustly enriched at the expense of the plaintiff by using

     plaintiff's Confidential Information for their own benefit and not for the benefit of the

     plaintiff.

        24. The plaintiff is entitled to a constructive trust on all profits that the defendants

     have earned arising from Lipov's breach of fiduciary duty and use of the Confidential

     Information.

        WHEREFORE, the plaintiff, Neuroscience Advanced Systems Inc., prays for

     judgment in its favor and against the defendants, Eugene Lipov, and Lipov Medical S.C.

     d/b/a Stella Center as follows:

                  a. The court order the defendants to account for all profits they earned as a

             result of Lipov's breach of fiduciary duty and use of plaintiff's Confidential

             Information;

                  b. The court declare that the defendants are holding these profits as

             constructive trustee and for the benefit of the plaintiff;
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                c. The court order the defendants to pay the aforesaid profits to the plaintiff;

0~              d. The court award prejudgment interest on the sums owed to the plaintiff;
 _
 N              C. The court award attorneys' fees, litigation costs, and court costs to the
0
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            plaintiff; and

                f. The court award such other relief as is just in the premises.

                                             COUNT II
                             BREACH OF FIDUCIARTY DUTY AGAINST LIPOV

        25. The plaintiff realleges paragraphs 1 through 21.

        26.As a direct and proximate consequence of the breach of fiduciary duty, the

     plaintiff has been damaged in an amount not yet determined.

        27.At all times relevant, Lipov acted willfully and maliciously. He knew that the

     plaintiff could not operate successfully unless he devoted sufficient time to plaintiff's

     business and did not compete with the plaintiff. Lipov knew his actions in breaching his

     fiduciary duties would result in plaintiff having zero profits and Lipov and Stella making

     significant profits. Accordingly, the plaintiff is entitled to punitive damages.

        WIIEREFORE, the plaintiff, Neuroscience Advanced Systems Inc., prays for

     judgment in its favor and against the defendant, Eugene Lipov, in the amount of his

     compensatory damages, punitive damages of $5 million plus costs of suit.

                                         COUNT III
                             BREACH OF CONTRACT AGAINST LIPOV

        28.The plaintiff realleges paragraphs 1 through 19.

        29.Lipov breached the Agreement, inter alia, in one or more ways:

               a. Paragraph 3 of the Agreement: failing to devote such and time and best

                                                   6
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            efforts as needed to continue to develop and refine the procedures described in
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~           paragraphs 1 and 2 of the Agreement;
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                b. Paragraph 5 of the Agreement: disclosing Confidential Information to third
O
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            parties, using the Confidential Information to compete with the plaintiff, and using

            the Confidential Information in a manner not contemplated by the Agreement;

            and/or

                c. Paragraph 10 of the Agreement: inducing or influencing Modica not to

            invest in plaintiff and to invest in Stella.

        30. As a direct and proximate cause of the breach, the plaintiff has been damaged in

     an amount not yet known, but believed to be in the millions of dollars.

        31. The plaintiff performed and/or was ready to perform all its obligations under the

     Agreement as of the time of Lipov's breach.

        32.Plaintiff is entitled to attorneys' fees pursuant to paragraph 12 of the Agreement.

            WHEREFORE, the plaintiff, Neuroscience Advanced Systems Inc., prays for

     judgment in its favor and against the defendant, Eugene Lipov, in the amount of its

     damages, plus interest, attorneys' fees, litigation costs, and court costs.

     Marry J. Schwartz Attorney No. 5 083 9                Neuroscience Advanced Systems Inc.,
     Ben Weber
     Schain Banks Kenny & Schwartz
     Three First National Plaza Ste 2300
     Chicago, Illinois 60602                               By    /s/ Marty J. Schwartz
     (312)345-5700                                               One of its attorneys
     Mschwartz@schainbanks.com




                                                     7
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                               Exhibit


                                    0
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                           SHAREHOLDERS AGREFMNT

                  NEUROSCIENCE ADVMCED SYSTEMS
                                               INC .
                               a NEW YORK CORPORATION


             Agreement made between NEUROSCIENCE
                                                     ADVANCED SYSTEY4S
  IATC., a corporation organized and existing
                                                under the laws of New
  York with its pri.ncipal office at 109
                                         Lafayette Street, Suite 802,
  New York County, New York, referred to
                                            •in this agreement as the
  "Corporation," and PHILIP A. DeFINA, Ph.D
                                            . (hereinafter "DeFina"),
  residing at
  and EUGENE LIPOV, M.D. (hereinafter                                ,
                                              "Lipov"), residing at
  this agreement as "Shareholders."                  , referred to in


                                   WITNESSETH :
            WHEREAS, DeFina has developed certain
                                                     proprietary data
 bases and algorithms with an electrical brai
                                               n mapping system which
 is able to demonstrate the safety and effi
                                              cacy of SGB treatments
 in patients with Post Traumatic Stress
                                              Disorder by measuring
 changes in different parameters of neur
                                          ophysiology, prior to and
 following the treatment regimen; and furt
                                              hermore, De Fina will
 contribute, with his neuroscience expe
                                           rtise, customized brain
 mapping procedures specific to Post-Traumat
                                              ic Stress, Post-Partum
 Depression and Post-Menopausal Syndrome
                                             that will be able to
 accurately and reliably sub-type these diso
                                               rders, track recovery
 patterns and predict outcomes. DeFina will
                                            also arrange for funding
 mechanisms to the corporate entity and
                                         will coordinate activities
 with the military and first responder grou
                                            ps.
          WHEREAS, L.ipov has developed a propriet
                                                   ary procedures
and expert knowledge for the treatment of Post
                                                 Traumatic Stress
Disorder ( and other neuropsychiatric cond
                                           itions) which involves
the use of inedications, for what is known
                                           as a Stellate Ganglion
Block procedure or "SGB" as well as
                                             the use of Pulsed
Radiofrequency Treatment, and

          WHEREAS, each of the shareholders
                                                     shall hereby
contribute to the corporation the exclusi.ve
                                               right to use their
respective proprietary procedures in exchange
                                              for the issuance to
them of their share of the common stock of the
                                                Corporation, and



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        Case: 1:22-cv-06847 Document #: 1-1 Filed: 12/06/22 Page 15 of 24 PageID #:18




                 WHEREAS, all of the issued and outstanding stock of the
       Corporation will be issued pursuant hereto as follows:
mm
co
0                       PHILIP A. DeFINA, Ph.D.          70 Shares
_
U
N
N
O                       EUGENE LIPOV, M.D.               30 Shares;
N
~
a     and
N
M
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N
O
                WHEREAS, the Shareho.lders deem it in the best interests
N     of the Corporation to act together concerning the management
V                                                                    and
      affairs of the Corporation as we11 as to make provision for
                                                                     the
~-    contingency of the death or disability of any Shareholder and
a                                                                     to
❑     set forth the manner and method by which a Shareholder may
❑w                                                                  sell
J_    his Stock during his lifetime.
LL

                 NOW, THEREFORE, IT IS AGREED AS FOLLOWS:

                l.    In consideration of the issuance to him of 70
     Shares of the common stock, h.aving no par value, DeFina hereby
     grants to the Corporation an exclusive license for the use of
                                                                    his
     proprietary electr.ical brain mapping system which is able
                                                                     to
     demonstrate the efficacy of the treatment•by measuring changes in
     different parameters of neurophysiology prior to and following the
     treatment regimens. DeFina represents that he has the full right
     to license such technology and information to the corporation. In
     addition DeFina is presently the Chief Executive Officer of
     International Brain Research Foundation, Inc. ("IBRF"). IBRF is
     a 501(c)(3) non-profit organization organized to promote research
     and treatment of various brain disorders of consciousness. DeFina
     hereby represents that there is no conflict of interest or loss of
     corporate opportunity by his participation in the Corporation. In
     the event the Corporation ceases business operations or dissolves,
     all rights assigned pursuant hereto shall revert to DeFina.

                2.   In consideration of the issuance to him of 30 Shares
     of the common stock having no par value, Lipov hereby grants to
     the Corporation an exclusive license, excluding clonidine +
     bupivacaine [or long acting anesthetic] as well as excluding bio-
     assessment tools [using cell phone and head sets], for the use of
     his proprietary procedures for the treatment of Post Traumatic
     Stress Disorder which involves the use of inedications for what is
     known as a Stellate Gangl.ion Block procedure or "SGB" as well as
     the use of Pulsed Radiofrequency Treatment. Lipov represents that

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  he has the right to license such technology
                                               and information to the
  corporation.   In addition, Lipov is founder of Chic
                                                           ago Medical
  Innovations which is more recently known as
                                               Global Post-Traumatice
  Street Injury Foundation ("GPTSIF"). GPTS
                                              IF is a 501(c)(3) non-
  profit organization organized to promote rese
                                                 arch and treatment of
  PTSD and. Hot Flashes utilizing Stellate
                                              Ganglion Block/Chicago
  Block. Lipov serves as a medical consulta
                                                nt to GPTSIF. Lipov
  hereby represents that there is no conflict
                                               of interest or loss of
  corporate opportunity by his participation
                                             in the Corporation. In
  the event the Corporation'ceases business oper
                                                  ations or d.issolves,
  all rights assigned pursuant hereto shall reve
                                                   rt to Lipov.

            3. The Shareholders agree.that they will
 such time and best efforts as needed to cont            each devote
                                                 inue to develop and
 refine the procedures referred to herein abov
                                               e to be us.ed together
 to form a coherent plan and modality for
                                                  treatment of Post
 Traumatic Stress Disorders and to further
                                              license or sublicense
 the combined procedure to various medical
                                             doctors and facilities
 for the diagnosis and treat of patients.
                                              In furtherance of the
 Corporation's purpose, the Shareholders
                                                will cooperate     in
 developing and preparing training manuals and
                                                programs for the use
 of the licensed/sublicensed technology and to
                                                actively participate
 in the training of licensees.

           4. So long as this Agreement is in
                                                 effect,                     the
 Shareholders shall maintain themselves
                                        as the Directors                     and
 Officers of the Corporation.

          5. The Corporation possesses, and will
                                                           possess,
Confidential Information (as hereinafter defi
                                               ned) regarding its
treatments of PTSD and the development of
                                                certain treatment
protocols treatment and measurement of PTSD.
                                                  The Shareholders
shall keep such Confidential Information and Mate
                                                  rials from public
disclosure except upon the prior written
                                                  consent of all
Shareholders. As used herein:

                a.   "Confidential Information" shall mean the
proprietary information provided to the Corp
                                                   oration by the
Shareholders and any nonpublic informati.on that
                                                    the Corporation
specifi.cally marks and designates, either orally
                                                  or .in writing, as
confi.dential or which, under the circumstance
                                                 s surrounding the
information, ought to be treated as confidential
                                                       or which the
Shareholders or either one of them creates or prod
                                                        uces in the
course of performing services for the Corporation.
                                                      "Confidenti.al
Informati.on" includes, but is not limited to, informat
                                                        ion received
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 from others that the Corporation is obligated to treat as
 confidential and other materials and information of a confidential
 nature.

                b.   "Confidential Materials" shall mean all the
 tangible materials containing Confidential Information, including
 without limitation, written or printed documents, computer disks,
 tapes, digital video disks (DVD), compact disks (CD), or digital
 drives or any kind.

               C.   Shareholders    shall    not   disclose    any
Confidential Information to third parties without the prior
written authorization of the -Corporation. Notwithsta.nding the
foregoing, a Shareholder shall not at any time disclose to any
third parties any Confidential Information compromising a trade
secret of the Corporation or any Confidential Information of any
other party to whom the Corporation owes an obligation. However,
a Shareholder may disclose Confidential Information in accordance
with judicial or other governmental orders, provided he shall give
the Corporation reasonable notice prior to such disclosure and
shall comply with any applicable protective order or equivalent.

               d. No Shareholder shall use any Confidential
Information or Confidential Materials of the Corporation for any
purposes except those expressly contemplated hereby or as
authorized by the Corporation.

               e. Shareholders. shall take reasonable security
precautions, which shall in any event be as great as the
precautions it takes to       protect their    own   confidential
information, to keep confidential the Confidential Information.

               f. Confidential Information and Confidential
Material may be disclosed, reproduced, summarized or distributed
only in pursuance of the Corporation's purpose.s, and only as
otherwise provided hereunder.    The Shareholders each agree to
segregate a11 such Confidential Material from the confidential
material of others to prevent commingling.

                g. Shareholders shall notify the Corporation
imrnediately upon discovery of any unauthorized use or disclosure
of Confidential Information or Confidential Materials, or any
other breach of this the confidentiality provisions of this
Agreement and will cooperate with the Corporation in every
reasonable way to help the Corporation .gain possession of the

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 Confidential Information and/or Confidential Materials and prevent
 further unauthorized use or disclosure.

                h. Each Shareholder acknowledges that monetary
 damages may not be a sufficient.remedy for damages resulting from
 unauthorized disclosure of Confidential Information and that the
 Corporation shall be entitled.to, without waiving any other rights
 or remedies, to seek.such injunctive or equitable relief as may be
 deemed proper by a court of competent jurisdiction.

                i. A11 Confidential Information and
 Confidential Materials are and shall remain the sole and
 exclusive property of the Corporation.

             6.   The Shareholders' stock in the Corporation may not
 be sold,     transferred, pledged or assigned except as herein
 provided.

                a.    In the event that either of the shareholders
ceases to be actively involved in the work of the corporation by
virtue illness, retirement or death of either of the shareholders,
the corporation shall have the option to purchase a11 or any part
of the shares owned by the terminated shareholder, which option
the corporation may exercise in writing to the such shareholder or
to the shareholder's personal representative within 30 days of the
date of such shareholder's termination. The purchase price of such
shares shall be as      hereinafter provided.    In the event of
termination by death of any shareholder, the shareholder's
personal representative may not retain the shareholder's shares
and shall have no shareholder voting rights.

               b.     Subject to the provisions of this paragraph
 4 of this Agreement, the valuation/purchase price of each share
 of stock offered for sale pursuant to the terms of this Agreement
 shall be determined in the following manner:

                C.      The Shareholders hereby set the sum of One
Hundred and 00/100 Dollars ($100.00) as the agreed upon value of
one (1) share of stock (hereinafter referred the as the "Stipulated
Value"). Not less often than annually hereafter, the Shareholders
shall unanimously agree upon a single amount, which shall represent
the adjusted Stipulated Value. In the event that the Stipulated
Value has not been agreed upon or adjusted for a period in excess
of twelve (1.2) months and it becomes necessary to calculate. the

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  value of a share of stock, the Shareholders
                                                    shall select a
  certifi.ed public accountant, or if the Shareholde
                                                     rs cannot agree
  upon such accountant then an independent
                                                  certified public
  accountant shall be selected by a Judge of the
                                                   Supreme Court of
  the State of New York.    The accountant, whether agreed upon or
  selected, shall calculate an Adjusted Deter
                                                  mined Value (as
  hereafter defined) of one (1) share of stock,
                                                      which Adjusted
  Determined Value shall be the Stipulated Value.


                d.      For the purposes of this agreement, the
 Adjusted Determi.ned Value shall mean the last
                                                  Stipulated Value
 plus or minus the difference between the book value
                                                       of the share
 as of the date of such last Stipulated Value
                                              and its valuation as
 of the end of the month immediately preceding the
                                                     month in which
 the shares of stock are offered for sale ("Valuatio
                                                       n Date"), in
 accordance with the regular methods and practices
                                                    employed by the
 corporation in keeping its book, applied on
                                               a bas.is consistent
 with its regular annual reports, but subject
                                                 to the following
 provisions:
                     i.    No allowance of any kind shall be rnade
 for goodwill, tradename, or any similar intangible
                                                     asset;
                    ii.   A11 accounts payable shall be taken at
 their face amount, less discounts deductible from
                                                     them, and all
 accounts receivable shall be taken at the.ir face
                                                       amount, less
 discounts to the customers and a reasonable reserve f
                                                       or bad debts;

                  iii.    A11 real property, shares in subsidiary
 corporations, fixtures, and 'equipment shall be taken
                                                          at the
 valuation appearing on the books of the corporation;

                   iv.    Inventory of supplies shall be computed
 at cost or market value, which-ever is the norma
                                                    l practice in
 connection with such accounting; and

                   V.   All unpaid and accrued taxes, including
federal income taxes, shall be deducted as liabili.ty.
                                                       A further
deduction shall be made for accrued liability for
                                                      payment of
incentive bonuses prorated to the day of evaluation
                                                       , but no
deductions sha11 be made for unpaid contributions
                                                      to profit-
sharing plans, if any.

               e.    The term "accounts receivable" shall mean
amounts billed to licensees but unpaid by them at the
                                                      end of the
month immediately preceding the Valuation Date.
                                                        Accounts

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receivabie shall be considered an asset of the corporation' and
shall be given the value as set forth above.

                f.    The last valuation established as provided in
 this agreement shall be controlling at the termination of either
 of the Shareholders as defined by this agreement, provided that in
 the event that the life insurance provided for in this agreement
 and carried on the life of any of Shareholder exceeds the value of
 such shareholder's interest as determined in this agreement, the
 excess shall be payable to the executor, administrator, surviving
 spouse, or other legal representative of the shareholder's estate.

            7.   a.    The entire purchase price of all shares
 purchased by the corporation under this agreement sha11 be paid to
 the terminated shareholder or the shareholder's personal
 representat.ive within 180 days of the exercise of the option, at
 which time certificates representing the shares shall be delivered
 to the corporation.

                b. Alternatively, the corporation may, at its own
election, pay the purchase price for the shares in equal, annual
installments, payable on the anniversary date of the exercise,
commencing no sooner than 120 days of termination, and for a period
of three years or any such shorter time period as all shareholders
may unanimously agree. Payment sha11 also be made by delivering to
the selling shareholder or to the share- holder's representative
promissory notes by the corporation, for the respective balance of
the purchase price and providing for equal annual payments of the
pri.ncipal over a period not to exceed three.years from the date of
the exercise of the applicable option, the annual payments to be
made on the anniversary date of the exercise.

               C.  The corporation sha11 have the right to prepay
the entire unpaid principal and accrued interest, without interest
penalty, at any time. The promissory notes shall bear interest at
the rate of three percent per annum, payable annually, and shall
provide for the acceleration of the maturity of unpaid principal
and interest of all promissory notes written by the corporation in
the event that any installment of principal or interest remains
unpaid for a period of [number of days] days after due date.

               d. In the event that the shares are purchased by
a shareholder, then the same payment terms shall apply as set forth
in Paragraphs (a) and (b) of this Paragraph.




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               e. Payment shall be complete when, in addition to
the requirements of subparagraphs (a)-(c), above, the remaining
shareholder(s) execute a Personal Guaranty, which form is annexed
as Schedule A, securing the payment to the terminated shareholder
or the executor, administrator, surviving spouse, or other legal
representative of the terminated shareholder's estate.

          8. a. In the event that the shares of a terminated
shareholder are purchased by the remaining shareholder, the shares
so sold shall be pledged with the terminated shareholder or that
shareholder's estate to secure full payment of the purchase price.
As long as the purchaser is not in default, the purchasing
shareholder shall have all voting rights with respect to the shares
so sold.
               b.   Dividends, if any, which are payable on the
shares so sold, after deduction of federal income taxes payable by
the purchasing shareholder with respect to such dividends, shall
be paid against unpaid balances of the purchase price due from
purchasing shareholders under this agreement.

               C.   On full payment of the purchase price to the
terminated shareholder or that shareholder's representative the
transfer of the shareholder's interest in the shares to the pur-
chasing shareholder or corporation shall be complete. All
necessary federal and state transfer taxes shall be paid by the
corporation. Except as provided for in this agreement, no
purchasing shareholder may pledge, hypothecate, or encumber the
purchased shares of a terminated shareholder until the payment of
the purchase price is completed.

           9. The Corporation may obtain life insurance policies
on the lives of each of the Shareholders. In the event such life
insurarice are obtained, then the Corporation sha11 collect the
proceeds thereof, hold same as trustee and turn same over to the
legal representative of the deceased Shareholder as payment
hereunder. In the event said insurance proceeds exceed the amount
of the     purchase price provided herein, then the . legal
representative of the deceased Shareholder shall be entitled to
such total proceeds as payment in full. In the event the purchase
price exceeds the proceeds of insurance, then the balance shall be
paid pursuant to terms hereinabove.

          10. Upon termination of a Shareholder, or of this
Agreement, neither Shareholder shall for a period of three (3)
years thereafter, work for, own an interest in, operate, join,
control, participate in or be connected, either directly or

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                                       :
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 indirectly , as an officer, employee, agent, independent
 contractor, advisor, consultant, shareholder or principal of and
 corporation or other entity which diagnoses, treats or refers
 patients for treatment of Post Traumatic Stress Disorder, or in
 any way competes, either directly or indirectly, with the business
 of the Corporation, and no Shareholder shall induce or influence
 any person who is engaged by the Corporation as an employee,
 licensee,. agent, or independent contractor, to engage in or
 otherwise participate in any business or activity which directly
 or indirectly competes with the Corporation.

          11. None of the provisions of this Agreement shall be
deemed to have been waived by any act of acquiescence on the part
of the Corporation, its agents, or employees but only by an
instrument in writing signed by an authorized officer of the
Corporation. No waiver of any provision of this.Agreement shall
constitute a waiver of any provision(s) or of the same provision
on another occasion.    Failure of either party to enforce any
provisions of this Agreement shall not constitute waiver of such
provision or any other provisions of this Agreement.

          12. If any action at law or in equity is necessary to
enforce or interpret the rights arising out of or relating to this
Agreement, the prevailing party shall be entitled to recover
reasonable attorney's fees, costs and necessary disbursements in
addition to any other relief to which it may be entitled.

          13. If any provision of the Agreement shall be held by
a court of competent jurisdiction to be illegal, invalid or
unenforceable, the remaining provisions shall remain in full force
and effect. Should any of the obligations of this Agreement be
found illegal or unenforceable as being too broad with respect to
the duration, scope or subject matter thereof, such obligations
shall be deemed and construed to be reduced to the maximum
duration, scope or subject matter allowable by law.

          14. This Agreement constitutes the entire Agreement
between the parties with respect to the subject matter hereof. It
shall not be modified except by a written.agreement subsequent to
the date of this Agreement and signed by both parties.

          15. This Agreement shall be construed and governed by
the laws of the State of New York, and both parties further consent


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 to jurisdiction by the state and federal courts sitting in the
 State of New York.



             IN WITNESS WHEREOF, the parties have hereunto set the
 hands and seals this 2~          day of 1-Q111- ~ , 201f.


 NEUROSCIENCE ADVANCED SYSTEMS INC.


 by




by
                                               EUGENE LIPOV, individually




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 AFF IDAVI T OF SERVI CE                                                                                               ~1111111
                                                                                         111111111111111111111111111111111111
                                                                                                    P7554348
      NAPOLI SHKOLNIK, PLLC    Desiree Cotignola
IN THE CIRCUIT COURT THIRD JUCIDIAL CIRCUIT MADISON COUNTY, ILLINOIS
RUEBEN RICE, ETAL                                                                     index No. 2022LA 001388
                                                           PLAINTIFF                  Date Filed
                               - vs -                                                 File No. ASB 8494
HONEYWELL INTERNATIONAL INC., F/K/A ALLIEDSIGNAL, INC., AS                             Court Date:
SUCCESSOR-IN-INTEREST TO THE BENDIX CORPORATION, ETAL
                                                                         DEFENDANT     AFFIDAVIT OF SERVICE

STATE OF      ILLINOIS                          COUNTY OF            SANGAMON               :SS:

 JOHNJPENNELL                                            , being duly sworn deposes and says:
                                                                                 ofILLINOIS
Deponent is not a party herein, is over 18 years of age and resides in the State
     11/07/2022                                     at    11:20 AM
On


at 801 ADLAI STEVENSON DRIVE      SPRINGFIELD, IL 62703


deponent served the within SUNmIONS AND ORIGINAL COMPLAINT on: HONEYWELL INTERNATIONAL INC., F/K/A
ALLIEDSIGNAL, INC., AS SUCCESSOR-IN-INTEREST TO THE BENDIX CORPORATION, the DEFENDANT therein
named.

     #1 INDIVIDUAL        By delivering a true copy of each to said recipient personally; deponent knew the
                          person served to be the person described as said person therein.
X    #2 CORPORATION       By delivering a true copy of each personally to LYLENEEMAN
                          who provided verbal confirmation that he or she is authorized by appointment or law to
                          receive service on behalf of the DEFENDANT.
                          Deponent knew the person so served to be the AUTHORIZEDAGENT
                          of the corporation, and authorized to accept service on behalf of the corporation.
      #3 SUITABLE         By delivering a true copy of each to                                         a person
      AGE PERSON          of suitable age and discretion.
                          Said premises is DEFENDANT's: [] actual place of business [] dwelling house (usual
                          place of abode) within the state.
      #4 AFFIXING         By affixing a true copy of each to the door of said premises, which is DEFENDANT's: [
      TO DOOR             ] actual place of business [] dwelling house (usual place of abode) within the
                          state.
                          Deponent was unable, with due diligence to find DEFENDANT or a person of suitable age
                          and discretion, having called thereat
                          on the                      day of                      at
                          on the                      day of                      at
                          on the                      day of                      at
                          on the                      day of                      at
                          Address confirmed by
      #5 MAIL COPY                          1 deposited in the United States mail a tride    y of the
                      aforementioned documents properly enclosed and sealed in a post-paid wrapper addressed
                      to the above address. Copy mailed 1a` class mail marked personal and confidential not
                      indicating on the outside thereof by return address or otherwise that said notice is
                      from an attorney or concerns an action against the person to be served.
    #6 DESCRIPTION    Deponent describes the person served as aforesaid to the best of deponent's
(USE WITH #1, 2 OR 3) ability at the time and circumstances of the service as follows.
                           Sex: FEMALE                   Color:         WHITE        Hair: BROWN
                           Age : 70                      Height :         5'5"       Weight : 150#
                        OTHER IDENTIFYING FEATURES:
      #7 WITNESS FEES   The authorized witness fee and / or traveling expenses were paid (tendered) to the
                        DEFENDANT in the
                        amount of $
      ##8 MILITARY SRVC Deponent asked person spoken to whether the DEFENDANT was presently in military
                        service of the United States Government or of the State of                    and was
                        informed that DEFENDANT was not.
      #9 OTHER


NOTARY NAME & DATE                                   11/07/2022
                                                                             Lexitas
                                                                             1235 BROADWAY 2ND FLOOR
                                                                             NEW YORK, NY 10001
                                                                             Reference No: 7-NPL-7554348
